Case 2:20-cv-05654-MWF-ADS Document 7 Filed 07/07/20 Page 1 of 5 Page ID #:103




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    8   GABRIELLE SHOYKHET
    9
                              UNITED STATES DISTRICT COURT
   10
   11           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13   CAVI PUR LLC, ANNA SHOYKHET, )
                                      ) Case No.: 2:20-cv-05654
   14   GABRIELLE SHOYKHET,           )
                                      ) NOTICE OF MOTION AND
   15   Plaintiffs,                   )
                                      ) MOTION TO REMAND;
   16          vs.                    ) MEMORANDUM OF POINTS OF
                                      )
   17   NATHALIE DUBOIS, DUBOIS PELIN) AUTHORITIES IN SUPPORT
        ASSOCIATES GROUP, and DOES 1 )) THEREOF
   18
        through 10,                   )
   19                                 ) Hearing: August 17, 2020
                                      ) Time:     10:00 am
   20   Defendants.                   )
                                        Courtroom: 5A
   21                                   Judge: Hon. Michael W. Fitzgerald
   22
              TO DEFENDANTS AND THEIR ATTORNEYS OF RECORD:
   23
              Please take notice that on August 17 at 10:00 am or as soon thereafter as this
   24
        matter may be heard in Courtroom 5A located at First Street Courthouse, 350 West
   25
        First Street, Los Angeles, plaintiffs will and hereby move the court for an order
   26
        pursuant to 28 U.S.C. 1447(c) remanding this action to the Superior Court in and
   27
        for the County of Los Angeles and granting attorneys’ fees and costs to plaintiffs.
   28
              Plaintiffs move to remand on the ground that:


                             NOTICE OF MOTION AND MOTION TO REMAND
Case 2:20-cv-05654-MWF-ADS Document 7 Filed 07/07/20 Page 2 of 5 Page ID #:104




    1      (1) The complaint does not raise a substantial federal question that is necessary
    2         to resolution of any of plaintiff’s claims, and
    3      (2) The defendants reside in the state where the action was brought.
    4      Plaintiffs’ motion for remand is based on this notice of motion and motion, the
    5   memorandum of law filed in support of this motion, and such other and further
    6   evidence and argument, both written and oral, as may be presented to the Court
    7   before the motion is submitted for decision.
    8                MEMORANDUM OF POINTS AND AUTHORITIES
    9         Plaintiffs filed a civil action in the Superior Court of California in and for
   10   the County of Los Angeles. Plaintiffs allege breach of contract, conversion, assault,
   11   unfair business practices under Business and Professions Code Section 17200 et
   12   seq., fraud, and negligent/intentional infliction of emotional distress arising out of
   13   Defendants’ contractual relationship with Plaintiffs.
   14         On June 25, 2020, Defendants filed a petition for removal in this Court,
   15   pursuant to 28 U.S.C. §§ 1332, 1441, and 1446. The removal petition seeks
   16   removal on the basis of complete diversity of citizenship and the amount in
   17   controversy. Removal to federal court was improper because no basis for removal
   18   appears on the face of the complaint.
   19                                           ARGUMENT
   20         1. The removal statute is to be interpreted strictly against removal.
   21         To protect the jurisdiction of state courts, removal jurisdiction should be
   22   strictly construed in favor of remand. Harris v. Bankers Life and Cas. Co., 425
   23   F.3d 689, 698 (9th Cir. 2005) (citing Shamrock Oil & Gas Corp. v. Sheets, 313
   24   U.S. 100, 108–09 (1941)). There is a “strong presumption against removal
   25   jurisdiction.” Abrego v. Dow Chem. Co., 443 F.3d 676, 685 (9th Cir. 2006). The
   26   party seeking removal has the burden of establishing federal jurisdiction. Holcomb
   27   v. Bingham Toyota, 871 F.2d 109, 110 (9th Cir. 1989). There must be no doubt
   28   that jurisdiction exists. If doubt exists, remand is required. Gaus v. Miles, Inc., 980



                             NOTICE OF MOTION AND MOTION TO REMAND                               2
Case 2:20-cv-05654-MWF-ADS Document 7 Filed 07/07/20 Page 3 of 5 Page ID #:105




    1   F.2d 564, 566 (9th Cir. 1992) (“Federal jurisdiction must be rejected if there is any
    2   doubt as to the right of removal.”) (emphasis added). “Doubts as to removability
    3   must be resolved in favor of remanding the case to state court.” Matheson v.
    4   Progressive Specialty Ins. Co., 319 F.3d 1089, 1090 (9th Cir. 2003).
    5         2. Removal is not proper because Defendants are residents of the state
    6   where the action was filed.
    7         28 U.S.C.A. § 1441 (b)(2) provides: “A civil action otherwise removable
    8   solely on the basis of the jurisdiction under section 1332(a) of this title may not be
    9   removed if any of the parties in interest properly joined and served as defendants is
   10   a citizen of the State in which such action is brought.
   11         As Defendants explain in their Notice of Removal, all Defendants are
   12   residents of California:
   13         “13. Defendant Dubois, at all relevant times is and was an individual
   14         resident of the County of Los Angeles, State of California. Dubois does
   15         business under the name of Dubois Pelin Associates Group which is a sole
   16         proprietorship and not a separate business entity from herself as a
   17         individual...
   18         20. Dubois is a citizen of California.”
   19                                           Notice of Removal at 2.
   20         The petition is solely based on the jurisdiction under 1332(a). Therefore
   21   Defendants cannot remove this action to this Court. (Also see, Caterpillar Inc. v.
   22   Lewis, 519 U.S. 61, 68 (1996): When a plaintiff files in state court a civil action
   23   over which the federal district courts would have original jurisdiction based on
   24   diversity of citizenship, the defendant or defendants may remove the action to
   25   federal court, 28 U.S.C. § 1441(a), provided that no defendant “is a citizen of the
   26   State in which such action is brought,” § 1441(b).”
   27
   28




                              NOTICE OF MOTION AND MOTION TO REMAND                              3
Case 2:20-cv-05654-MWF-ADS Document 7 Filed 07/07/20 Page 4 of 5 Page ID #:106




    1                         3.    Attorneys’ fees request is proper
    2         Courts may award attorneys’ fees under §1447(c) “only where the removing
    3   party lacked an objectively reasonable basis for seeking removal. Conversely,
    4   when an objectively reasonable basis exists, fees should be denied.” Martin v.
    5   Franklin Capital Corp., 546 U.S. 132, 141 (2005).
    6         Here, Defendants did not have an objectively reasonable basis for removing
    7   this case to federal court. The case law and 28 U.S.C.A. § 1441 (b)(2) is clear that
    8   a defendant residing in the state where the action was brought cannot remove the
    9   case if the complaint is not raising federal questions. The removal was filed to
   10   cause delay and increase plaintiffs’ expenses. Therefore, a request for attorneys’
   11   fees should be granted.
   12
   13                                     CONCLUSION
   14         As demonstrated above, this court lacks removal jurisdiction over this
   15   action. The complaint seeks relief exclusively under state law and Defendants
   16   potential federal defenses (complete diversity and amount in controversy) do not
   17   support removal jurisdiction because all Defendants are residents of the state where
   18   the action was filed. Therefore, the Court should grant Plaintiffs’ motion to remand
   19   this action to the superior court and award Plaintiffs their just costs and expenses
   20   incurred in connection with defendant’s attempted removal of this action.
   21
   22   DATED: July 6, 2020                     MAZINA LAW
   23
                                                ___________________________________
   24                                           NATALLIA MAZINA
   25                                           Attorneys for Plaintiffs
                                                ANNA SHOYKHET, GABRIELLE
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                                                SHOYKHET
   27                                           CAVI PUR LLC
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                             NOTICE OF MOTION AND MOTION TO REMAND                             4
Case 2:20-cv-05654-MWF-ADS Document 7 Filed 07/07/20 Page 5 of 5 Page ID #:107




    1
    2                             CERTIFICATE OF SERVICE
    3
              I, Natallia Mazina, hereby certify that, on July 7 , 2020, I electronically filed

    4
        the foregoing with the Clerk for the United States District Court for the Central

    5
        District of California using the CM/ECF system, which shall send electronic

    6
        notification to counsel of record.

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                                                NATALLIA MAZINA
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